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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-586 (RC)
         v.                                    :
                                               :
ANTONIO FERRIGNO,                              :
                                               :
                  Defendant                    :

                       GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Antonio Ferrigno to 30 days’ incarceration, 36 months’ probation, 60

hours of community service, and $500 in restitution.

    I.         Introduction

         Defendant Antonio Ferrigno participated in the January 6, 2021, attack on the United States

Capitol—a violent attack that forced an interruption of Congress’s certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred police officers, and resulted in more than 2.7 million

dollars in losses. 1

         Defendant Ferrigno pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G).              As

explained herein, a sentence of incarceration followed by probation is appropriate in this case


1
        Although the Statement of Offense in this matter, filed on April 28, 2022, (ECF No. 32 at
¶6) reflects a sum of more than $1.4 million dollars for repairs, as of April 5, 2022, the approximate
losses suffered as a result of the siege at the United States Capitol was $2,734,783.15. That amount
reflects, among other things, damage to the United States Capitol building and grounds and certain
costs borne by the United States Capitol Police.


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because (1) Ferrigno engaged in planning and coordination to participate in the riot with his

friends and co-defendants, Francis Connor and Anton Lunyk, (2) in social media messages before

the riot, Ferrigno exhibited a clear understanding of the fact that the 2020 Electoral College

Certification was taking place at the Capitol on January 6, 2021, (3) in social media messages

before the riot, Ferrigno expressed his intent to engage in “civil war” and to prevent President

Biden from being inaugurated as President of the United States, (4) while inside the Capitol

Building on January 6, Connor entered Senator Jeff Merkley’s Office, a sensitive space, and (5)

Ferrigno does not appear to have been fully compliant with the conditions of his pretrial release.

       The Court must also consider that Ferrigno’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers who trying to prevent a breach of the Capitol Building, and disrupt

the proceedings. See United States v. Thomas Fee, 1:21-cr-00131 (JDB), Tr. 04/01/2022 at 17

(“The defendant was an active participant in a mob assault on our core democratic values and our

cherished institution. And that assault was intended by many and by the mob at large in general to

interfere with an important democratic processes of this country. I cannot ignore that, cannot pull

this misdemeanor out of that context.”) (statement of Judge Bates). Ferrigno’s actions and those

of his fellow rioters enabled the breach the Capitol, threatened the lives of the police officers,

legislators and their staffs, and disrupted the certification vote for several hours. See United States

v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan). Here, the facts of and circumstances of Ferrigno’s

crime support a sentence of 30 days’ incarceration, 36 months’ probation, 60 hours of community

service, and $500 in restitution in this case.



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 II.       Factual and Procedural Background

                            The January 6, 2021, Attack on the Capitol

       To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 21 (Statement of Offense), at 1-7. As this Court knows, a riot

cannot occur without rioters, and each rioter’s actions—from the most mundane to the most

violent— contributed, directly and indirectly, to the violence and destruction of that day. With that

backdrop we turn to Ferrigno’s conduct and behavior on January 6.

            Defendant Ferrigno’s Role in the January 6, 2021, Attack on the Capitol

       Late in the night on January 5, 2021, Antonio Ferrigno and co-defendants Francis Connor

and Anton Lunyk drove from their homes in Brooklyn, New York, to Washington, D.C. The three

friends planned to attend the former President’s “Stop the Steal” rally and coordinated their trip

via Instagram Messenger.

       Once in D.C., Lunyk, Connor, and Ferrigno did attend the “Stop the Steal” rally. They

were admitted to the cordoned off area on the Ellipse, where they listened to speeches by the

former president and others. Later, they headed in the direction of the Capitol Building.

       Lunyk, Connor, and Ferrigno approached the Capitol Building from the West. At the time

of their arrival on the grounds, the riot was well underway. Hundreds of rioters were engaged in

hand-to-hand combat with police in the Lower West Plaza. With the police distracted, thousands

of rioters had already been able to stream into the Capitol Building. Lunyk, Connor, and Ferrigno

joined them.

       Lunyk, Connor, Ferrigno entered the Capitol Building through the Senate Wing Door on

the West Side of the Building at approximately 3:08 p.m., almost an hour after the first breach of

the building at that Door. Yet, the lobby inside the Senate Wing Door was still packed with rioters.



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In fact, about 20 minutes before Lunyk, Connor, and Ferrigno’s entry, Capitol Police managed to

clear the lobby and barricade the Senate Wing Door from the inside, but a wave of rioters breached

the Door a second time around 2:47 p.m.

       As they crossed the threshold into the Capitol Building, all three defendants held up their

cell phones as if recording.




    Exhibit 1 – Screenshot of CCTV showing defendants’ entry into the Capitol Building at
approximately 3:08 p.m. Defendants Ferrigno, Connor, and Lunyk (left to right) are highlighted
                                      by red circles.

       The defendants then entered the workspace of Senator Jeff Merkley, the entrance to which

is directly next to the Senate Wing Door Lobby. As they entered, they were captured on a

livestream recorded by rioter and social media personality Tim Gionet, a.k.a. “Baked Alaska.” 2

Lunyk and Ferrigno are visible laughing and recording on their cell phones in the background as

Baked Alaska fakes a phone call to the Senate from the landline in Senator Merkley’s Office. A




2
       Baked Alaska’s livestream has been submitted to the Court as an exhibit and marked as
Exhibit 2.
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screenshot of the livestream showing Lunyk in the background surfaced on the internet shortly

after the riot, leading to Lunyk’s early identification and, later, his arrest.




Screenshot from Exhibit 2 (Baked Alaska’s livestream) at marker 18:04. Defendants Lunyk and
 Ferrigno (left to right) are circled in red in the background as Gionet fakes a phone call to the
                                                Senate.

While in Senator Merkely’s Office, Connor poked through books and papers. In videos recorded

by rioters in the workspace, rioters can be seen with their feet up on the desk, and one rioter appears

to have removed a framed picture from the wall and is visible in a video carrying the frame. After

the riot, Senator Merkley posted a video of the damage to his workspace. 3 Despite the Senator

having left the door unlocked, rioters had torn the door to the workspace off the hinges. Personal

mementos had been torn from the walls and strewn about. A laptop was stolen. Debris, including

cigarette butts, littered the floor.




3
        Senator Merkley’s video has been submitted to this Court as an exhibit and marked Exhibit
3.
                                                    5
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          After leaving Senator Merkley’s workspace, the defendants next traveled to the Capitol

Crypt, where they posed for a photo.




    Exhibit 4 – Defendants Connor, Ferrigno, and Lunyk (left to right) posing in the Capitol Crypt.

The defendants continued from the Crypt to the House side of the Capitol, still on the first floor.

They turned around in the House wing and went back the way they came.

          The defendants exited the Capitol Building at approximately 3:18 p.m. by climbing out a

broken window next to the Senate Wing Door (the door they entered) while alarms blared

overhead. 4




4
       A video recorded by Ferrigno on his cell phone of Connor climbing out the window has
been submitted to the Court as an exhibit and marked Exhibit 5.


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    Screenshot from Exhibit 5 (Ferrigno cell phone video) – Connor climbing out the window next to
                          the Senate Wing Door at approximately 3:18 p.m.

    In total, the defendants spent about 10 minutes crisscrossing the first floor of the Capitol. Their

    approximate path is shown on the map below.

                                 Sen. Merkley             Defendants’
                                  Workspace               Crypt photo




Senate Wing
   Door




      Exhibit 6 – Map of the first floor of the Capitol Building. The defendants’ approximate path is
                                           indicated by red arrows.


                           Lunyk, Connor, and Ferrigno’s Instagram Messages

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       Messages that Lunyk, Connor, and Ferrigno exchanged amongst themselves and others on

Instagram Messenger, 5 from Election Day, 2020, and onward, demonstrate the depth of their

beliefs that the 2020 Election had been stolen from the former President, their support for “Stop

the Steal,” and the lengths to which they were willing to go to fight for the election results to be

overturned. The messages show that the defendants were motivated to “fight” for the former

president, and that the former president told them to fight. The messages show prior planning and

coordination between the three co-defendants and others to go to the Stop the Steal rally on January

6, 2021, as early as November of 2020.

       The messages show that at least Lunyk and Connor traveled to Washington D.C. for

another rally on November 14, 2020 (“The Million MAGA March”), and their interest in traveling

to Washington D.C. and elsewhere in the country (e.g., the Georgia State Capitol in Atlanta,

Georgia) for other rallies.

       The messages demonstrate the defendants’ interest in organized groups such as the Proud

Boys and the Oath Keepers. The messages also indicate the extent of the defendants’ beliefs in

conspiracy theories beyond the 2020 Election being fraudulent, such as Q Anon. Q Anon is not

an organized group, but is an online conspiracy theory that motivated many to attack the Capitol

on January 6, 2021, due to beliefs that, for example, Joe Biden and Democrats are pedophiles.




5
        Relevant messages sent by the three co-defendants are attached to this memorandum as an
appendix. The messages are organized by “thread” – messages in the same “thread” are messages
from a single, ongoing conversation between a generally stable group of Instagram users. As can
be seen in the appendix, the three co-defendants participated in multiple threads, some including
all three of them, some including two of them, and some involving only one of them. Messages
included in the appendix are not comprehensive – i.e., not every message that the co-defendants
sent in each thread are included, and messages sent in the thread by users that are not the three co-
defendants are not included, except where necessary for context.
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       The messages reflect that, while the defendants were worried about being arrested after the

riot, they were exuberant about having participated. Lunyk said the next day in a thread that

included Connor and Ferrigno, “LMAO bro this shit was wild.”

       Lunyk in particular, in threads involving Ferrigno and Connor, repeatedly told others that

the police had let them into the Building and “guided [them] throughout.” Ferrigno chimed in,

saying, “The cops outright gave us a tour.” This is not borne out by CCTV. When the defendants

entered the Senate Wing Door Lobby, it was packed with rioters preventing police from securing

the area. There were no police near the door. And, while the defendants walked past police

passively standing guard in the House Wing, in no way were the police “giving a tour” or guiding

the defendants anywhere inside the Capitol Building.




         Exhibit 7 – Screenshot of CCTV showing defendants walking in the House Wing while
                         police monitor the hallway in the background

        Ferrigno also played into a conspiracy that the shooting of Ashli Babbitt was fake, telling

his friends: “We didn’t see the girl get shot or hear a shot or see any ambulance or anything… A




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lot of people say it’s fake… If someone was dead in the capitol they would’ve evacuated the

place… Not a single ambulance stretcher or anything.”

                                 The Charges and Plea Agreement

       On August 31, 2021, Ferrigno was arrested on a criminal complaint with violating 18

U.S.C. § 1752(a)(1) and (2) and 40 U.S.C. § 5104(e)(2)(D) and (G). On June 17, 2021, the United

States charged Ferrigno by four-count Information with violating 18 U.S.C. § 1752(a)(1) and (2)

and 40 U.S.C. § 5104(e)(2)(D) and (G). On April 28, 2022, pursuant to a plea agreement, Ferrigno

pleaded guilty to Count 4 of the Information, charging him with a violation of 40 U.S.C. §

5104(e)(2)(G). By plea agreement, Ferrigno agreed to pay $500 in restitution to the Architect of

the Capitol.

III.       Statutory Penalties

       Ferrigno now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G).

As noted by the plea agreement and the U.S. Probation Office, Ferrigno faces up to six months of

imprisonment and a fine of up to $5,000. Ferrigno must also pay restitution under the terms of his

plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79

(D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not

apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

IV.        Sentencing Factors Under 18 U.S.C. § 3553(a)

       In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,



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§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of 30 days’ incarceration, 36 months’

probation, 60 hours of community service, and $500 in restitution.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021, was a crime unparalleled in American

history and defies comparison to other violent riots. It represented a grave threat to our democratic

norms and practices. Indeed, it was the one of the only times in our history when the building was

literally occupied by hostile participants.

       While each defendant must be sentenced based on their own conduct, this Court should

take into account that each person who entered the Capitol on January 6 without authorization did

so under extreme circumstances. As they entered the Capitol, they very likely crossed through

numerous barriers and barricades and heard the violent outcries of a mob. Depending on the timing

and location of their approach, they also may have observed extensive fighting between the rioters

and police and smelled chemical irritants in the air. No rioter was a mere tourist that day.

       Additionally, while assessing Ferrigno’s individual conduct and fashioning a just sentence,

this Court should look to a number of critical aggravating and mitigating factors, including: (1)

whether, when, and how the defendant entered the Capitol building; (2) whether the defendant

encouraged violence; (3) whether the defendant encouraged property destruction; (4) defendant’s

reaction to acts of violence or destruction; (5) whether, during or after the riot, the defendant

destroyed evidence; (6) the length of the defendant’s time inside of the building, and exactly where

the defendant traveled; (7) the defendant’s statements in person or on social media; (8) whether

the defendant cooperated with, or ignored commands from police officers; and (9) whether the



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defendant demonstrated sincere remorse or contrition. While these factors are not exhaustive nor

dispositive, they help to place each defendant on a spectrum as to their fair and just punishment.

Had Ferrigno personally engaged in violence or destruction, he would be facing additional charges

and/or penalties associated with that conduct. The absence of violent or destructive acts on

Ferrigno’s part is therefore not a mitigating factor in misdemeanor cases.

        Relative to some, Lunyk, Connor, and Ferrigno spent limited time inside the Capitol

Building – 10 minutes. However, they arrived on Capitol Grounds and entered the Building well

after the riot was underway, which meant that they had ample signals that they should turn around

and leave. They would have seen and heard the violence between police and rioters in the West

Plaza. They would have seen and likely been subjected to crowd-dispersal ordinance. But they

did not leave. Instead, they entered the Capitol Building, snapped photos and videos, climbed

through broken windows, and entered what was clearly a private office—Senator Merkley’s

workspace—and remained there while rioters ransacked the space.

        While the defendants should have appreciated the signs of trouble and turned around, their

entry into the Capitol amidst the chaos of the riot is not surprising. They came to Washington

D.C. for the chaos, as their messages before the riot make clear. As Ferrigno put it to one Instagram

user on January 5, 2021, “The election will be overturned to the right legal decision tomorrow,”

and a few hours later to a different Instagram user, “Let’s see what happens it’s gonna end up being

an all out civil war.”

        The defendants believed that the 2020 election was stolen and fraudulent, and went to

Washington D.C. in January 2021 with the desire to prevent President Biden from being

inaugurated, as is clear from the following messages:




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 2020-11-04      Connor      T17:16:13Z     theyre tryna steal this thing so hard
 2020-11-04      Lunyk       T17:48:27Z     what I see in front of me is a brainless pedophile
                                            puppet who will step down if he wins and allow the
                                            racially confused horse face bitch to run us into the
                                            ground and continue selling us out to china... which
                                            evidently will turn america into a socialist third
                                            world country and allow china to become the
                                            number 1 superpower, all so the dem elitists can
                                            make a few billion and maintain power and continue
                                            to sexually abuse children on yet another island
 2020-11-05      Connor      T17:14:00Z     Bro that’s literally illegal
 2020-11-05      Connor      T17:14:08Z     trump is getting re-elected
 2020-11-06      Ferrigno    T16:58:32Z     None of us will be alright under Biden
 2020-11-07      Ferrigno    T18:29:52Z     The dead Americans voted
 2020-11-09      Ferrigno    T18:45:33Z     We better eliminate the Democratic Party after this
 2020-11-16      Ferrigno    T18:22:48Z     STOP THE STEAL
 2020-11-20      Connor      T16:28:52Z     I will see you in DC on the 20th of the first month of
                                            the year 2021. Until then dint even contact me
 2020-12-08      Lunyk       T02:22:38Z     Biden can’t get inaugurated bro it just cannot
                                            happen
 2020-12-15      Lunyk       T01:45:56Z     Btw electoral colleges final vote is on January 6th...
                                            so idk where “world star” is getting these “reports”
 2021-01-12      Connor      T20:31:49Z     I’ll do time for Donald
 2021-01-12      Connor      T20:41:19Z     They stole the election and that’s that
 2021-01-12      Connor      T20:49:16Z     Come lock me up there’s nothing to live for if trump
                                            isn’t in office

       The defendants were willing to use or were at least extremely tolerant of violence against

their perceived political enemies and to accomplish their political goals:

 2020-11-03    Connor T19:55:58Z Preparing for war
 2020-11-03    Ferrigno T19:56:45Z I say fuck it let’s go looting either way

 2020-11-03    Ferrigno     T19:57:02Z    Let’s do it I’ll drive a forklift into the store
 2020-11-03    Lunyk        T22:53:17Z    kill them with the liberals
 2020-11-03    Ferrigno     T22:54:37Z    This is why everyone should carry chloroform
 2020-11-05    Connor       T03:26:12Z    Hopefully civil war comes
 2020-11-10    Connor       T04:28:49Z    he will be in DC on Saturday
 2020-11-10    Connor       T04:28:53Z    I think we r all going
 2020-11-10    Connor       T04:30:04Z    Gonna cause a massive conflict
 2020-11-10    Connor       T18:42:24Z    WAR IN DC
 2020-11-14    Connor       T21:05:53Z    It’s civil war over here
 2020-11-25    Connor       T15:35:42Z    Let’s murder Cuomo
 2020-11-25    Connor       T15:37:23Z    I’m gonna have to take control of this country


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 2021-01-08    Connor     00:56:33Z      I would’ve said “Our job yesterday wasn’t completed.
                                         Our end goal was to brutally murder Pence and Pelosi,
                                         and sadly today they’re still breathing, therefore we
                                         must come back stronger and fiercely next time
                                         around”
 2021-01-08    Lunyk      T01:43:33Z     Civil war man
 2021-01-12    Ferrigno   T02:06:01Z     I will fight for merica
 2021-01-12    Ferrigno   T02:06:06Z     I will risk my life for merica
 2021-01-12    Lunyk      T20:46:11Z     If they take my money I’m gonna shoot pelosi
 2021-01-21    Ferrigno   T18:52:38Z     TRUMP WILL GO DOWN IN HISTORY AS
                                         GREATEST PRESIDENT EVER ONCE EVERYONE
                                         SEES WHAT THIS COUNTRY TURNS INTO
                                         UNDER CORRUPT POLITICIANS
 2021-03-12    Lunyk      T16:04:25Z     The only answer is murder the left

       These messages were sent privately rather than posted publicly, which distinguishes

Lunyk, Connor, and Ferrigno from other misdemeanor defendants who have been given weightier

sentences for their aggravating use of social media. But the brazenness of the defendants’ entry

into the Capitol following their well-laid plans to travel to Washington D.C., for the purpose of

creating mayhem, if not actually overturning the election is itself highly aggravating. Accordingly,

the nature and the circumstances of this offense establish the clear need for a sentence of

incarceration followed by probation in this matter.

           B. Ferrigno’s History and Characteristics

       Ferrigno lives in Brooklyn, New York, with his parents. He is not currently employed and

is supported financially by his family. He has no criminal history. He is not married and he has

no children.

       Per the PSR, Ferrigno failed to supply the PSR writer with requested records, including

educational records and financial records, and did not return release forms allowing the PSR writer

to conduct independent research.      The fact that Ferrigno has not been compliant with the

presentence investigation is aggravating.



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            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 6 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                        General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be




6
        Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),  available    at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. As noted by Judge

Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [[Defendant Last Name]] and others caused that day goes way beyond the several-
       hour delay in the certification. It is a damage that will persist in this country for
       decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

                                        Specific Deterrence

       Ferrigno’s case, like that of his co-defendants, presents a strong need for specific

deterrence. Ferrigno’s and his co-defendants’ messages before and after the riot indicate a plan to

do what they did on January 6, 2021, and a willingness to do it again. Ferrigno expressed a clear,

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sincere belief that the election was stolen and joked about going “looting” before Election Day

was even over. Ferrigno’s rhetoric is disturbing. In particular, comments such as “This is why

everyone should carry chloroform,” in response to Lunyk’s message, “kill them with the liberals”

speaks to a tolerance for violence. Relative to his co-defendants, however, Ferrigno engaged in

less violent rhetoric. Yet, Ferrigno went right along with his friends, and his messages show no

hesitation. The three acted in lockstep, and their messages reflect a similar cohesion in their

thinking regarding their plans to travel to Washington D.C. on January 6 and their motives for

doing so. Specific deterrence demands a meaningful sentence for Ferrigno.

       Further, when considering specific deterrence, the government has encouraged judges in

this district to take into account a defendant’s remorse or contrition following the riot. But the

government submits that contrition should be credited with caution when it is expressed for the

first time at sentencing, especially if that remorse is belied by strong statements of enthusiasm or

pride immediately following the riot. While the government encourages contrition and believes it

to be an important piece of accountability, some January 6 defendants have expressed remorse at

their sentencings only to turn around and recant that remorse, even seeking to profit from their

prosecution. See United States v. Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 29-30 (“[The

defendant’s] remorse didn’t come when he left that Capitol. It didn’t come when he went home. It

came when he realized he was in trouble. It came when he realized that large numbers of

Americans and people worldwide were horrified at what happened that day. It came when he

realized that he could go to jail for what he did. And that is when he felt remorse, and that is when

he took responsibility for his actions.”); see also United States v. Derrick Evans, 1:21-cr-337

(RCL), ECF No. 52, “Notice of Defendant’s Post-Sentencing Statements” (06/30/2022).

           E. The Need to Avoid Unwarranted Sentencing Disparities



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       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 7 This

Court must sentence Ferrigno based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot. Although those like Ferrigno convicted of misdemeanors are generally less culpable than

defendants convicted of felonies, misdemeanor breaches of the Capitol on January 6, 2021, were

not minor crimes. A probationary sentence should not be the default. 8 See United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (“I don’t want to create the impression

that probation is the automatic outcome here because it’s not going to be.”) (statement of Judge

Lamberth at sentencing). Accord, United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr.

9/17/2021 at 13 (statement of Judge Friedman).

       Ferrigno has pleaded guilty to Count 4 of the Information, charging him parading,

picketing, or demonstrating in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G). This

offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C misdemeanors and



7
        Attached to this sentencing memorandum is a table providing additional information about
the sentences imposed on other Capitol breach defendants. That table also shows that the requested
sentence here would not result in unwarranted sentencing disparities.
8
        Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


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infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing Guidelines do not apply,

U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply, however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences explain the differing recommendations and

sentences. Avoiding unwarranted disparities requires the courts to consider not only a defendant’s

“records” and “conduct” but other relevant sentencing criteria, such as a defendant’s expression of

remorse or cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365

(D.C. Cir. 2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike

defendant, pleaded guilty and cooperated with the government).

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the

Sentencing Guidelines do not apply here, the sentencing court cannot readily conduct a disparity

analysis against a nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch

of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful



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transfer of Presidential power, the use of violence by a substantial number of rioters against police

officers, and large number of victims. Thus, even though many of defendants were not charged as

conspirators or as codefendants, the sentences handed down for Capitol breach offenses is an

appropriate group for purposes of measuring disparity of any future sentence.

        Comparing Ferrigno to misdemeanor defendants previously sentenced in Capitol Riot

cases is difficult given the gap between the violence of Ferrigno’s rhetoric and his actions inside

the Capitol on January 6, 2021, which were thankfully much more benign. But the extent and

extremity of the defendants’ violent rhetoric before and after the riot, which clearly reflects their

motivation and intent to engage in the charged criminal conduct, distinguishes them from other

Capitol Riot defendants who have pled guilty to 40 U.S.C. § 5104(e)(2)(G). And, in general, no

previously sentenced case contains the same balance of aggravating and mitigating factors present

here, but the sentences in the cases discussed below provide suitable comparisons to the relevant

sentencing considerations in this case.

        Previously sentenced cases involving defendants who entered Senator Merkley’s

workspace provide helpful comparisons to Lunyk’s case. In the case of Carson Lucard, 22-cr-87,

and Brian Stenz, 21-cr-671, Chief Judge Howell sentenced Lucard to 21 days of intermittent

confinement and 36 months’ probation and sentenced Stenz to 14 days’ incarceration as a

condition of probation. Both defendants entered Senator Merkley’s workspace and Stenz took

pictures of the damage to the office. Chief Judge Howell emphasized at the sentencing that, even

if the defendants didn’t directly participate in ransacking the officer, their presence there facilitated

the destruction. Lucard received a higher sentence than Stenz because Carson entered the Capitol

Building twice, the second time encouraging Stenz to come in with him.




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       In the case of Janet Buhler, 21-cr-510, Judge Kollar-Kotelly accepted the government’s

recommended incarceration sentence of 30 days. Buhler enthusiastically entered the Capitol

Building after ignoring multiple red flags including flash bangs, plumes of smoke in the air, and

rioters scaling the walls of the Capitol Building. She cheered as rioters physically crushed Capitol

Police at the East Rotunda Doors. She entered Senator Merkley’s workspace, which Judge Kollar-

Kotelly considered a serious aggravating factor. She also deleted photographs documenting her

entry into the Capitol Building from her phone.

       Judge Kollar-Kotelly also imposed 30 days in the case of Oliver Sarko, 21-cr-594. As

Chief Judge Howell found in the Stenz/Lucard cases, Judge Kollar-Kotelly found Sarko’s mere

presence inside Senator Merkely’s workspace aggravating.

       This Court should also consider the sentences it will impose on the three co-defendants

compared to each other. The three co-defendant’s aggravating conduct is mostly identical, with

some important variations. The government is recommending a higher sentence for Connor due

to his relatively more violent rhetoric—specifically, his clear intent before and after the riot to

engage in “conflict” and “civil war” and to obtain a weapon so that he could “air out a whole

block,” which demands specific deterrence—and the fact that he deleted evidence of his

participation in the riot from his phone. The 30 days that the government has recommended for

Ferrigno is in line with other Capitol Riot defendants who entered Senator Merkely’s workspace

and had additional aggravating factors including posting on social media, deleting evidence,

entering the Capitol twice, and cheering on violence. Here, Ferrigno and his co-defendants’

aggravating factors include their extensive pre-planning and clear intent to engage in mayhem.

The government would have also recommended a 30-day sentence for Lunyk but for his assistance




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as a witness in an unrelated federal investigation. As a credit for his assistance, the government

has reduced its recommendation as to Lunyk to 20 days.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

           F. The Court’s Lawful Authority to Impose a Split Sentence

       A sentencing court may impose a “split sentence”—“a period of incarceration followed by

period of probation,” Foster v. Wainwright, 820 F. Supp. 2d 36, 37 n.2 (D.D.C. 2011) (citation

omitted)—for a defendant convicted of a federal petty offense. See 18 U.S.C. § 3561(a)(3); see

United States v. Little, 21-cr-315 (RCL), 2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022)

(concluding that “ a split sentence is permissible under law and warranted by the circumstances of

this case); United States v. Sarko, No. 21CR591 (CKK), 2022 WL 1288435, at *1 (D.D.C. Apr.

29, 2022) (explaining why a split sentence is permissible in a petty offense case); United States v.

Caplinger, No. CR 21-0342 (PLF), 2022 WL 2045373, at *1 (D.D.C. June 7, 2022) (“the Court

concludes that a split sentence is permissible for a petty offense and therefore is an option for the



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Court in Mr. Caplinger’s case.”); United States v. Smith, 21-cr-290 (RBW), ECF 43 (D.D.C. Mar.

15, 2022) (imposing split sentence); United States v. Meteer, 21-cr-630 (CJN), ECF 37 (D.D.C.

April 22, 2022) (imposing split sentence); United States v. Entrekin, 21-cr-686 (FYP), ECF 34

(D.D.C. May 6, 2022) (imposing split sentence); United States v. Hemphill, 21-cr-555 (RCL), ECF

42 (D.D.C. May 24, 2022) (imposing split sentence); United States v. Buhler, 21-cr-510 (CKK),

ECF 39 (D.D.C. June 1, 2022) (imposing split sentence); United States v. Revlett, 21-cr-281 (JEB),

ECF 46 (D.D.C. July 7, 2022) (imposing split sentence); United States v. Getsinger, 21-cr-607

(EGS), ECF 60 (D.D.C. July 12, 2022) (imposing split sentences); United States v. Blakely, 21-cr-

00356 (EGS), ECF 38 (D.D.C. July 14, 2022); United States v. Ticas, 21-cr-00601 (JDB), ECF 40

(D.D.C. July 15, 2022).9 In addition, for any defendant placed on probation, a sentencing court

may impose incarceration for a brief interval as a condition of probation under 18 U.S.C. §

3563(b)(10).

    1.      A sentence imposed for a petty offense may include both incarceration and
            probation.

                                      Relevant Background

         In 1984, Congress enacted the Sentencing Reform Act, which in substantial part remains

the sentencing regime that exists today. See Pub. L. No. 98–473, §§211-212, 98 Stat 1837 (1984),

codified at 18 U.S.C. § 3551 et seq.; see Mistretta v. United States, 488 U.S. 361, 365-66 (1989)

(noting that the Sentencing Reform Act of 1984 wrought “sweeping changes” to federal criminal

sentencing). That legislation falls in Chapter 227 of Title 18, which covers “Sentences.” Chapter




9
        In United States v. Lindsey, 21-cr-162 (BAH), ECF 102, the defendant pleaded guilty to
three counts: 18 U.S.C. § 1752(a)(1); 40 U.S.C. §§ 5104(e)(2)(D) and 5104(e)(2)(G). Chief Judge
Howell sentenced Lindsey to five months incarceration on each of the § 5104 counts, to be served
concurrently, and 36 months’ probation on the § 1752(a)(1) count.


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227, in turn, consists of subchapter A (“General Provisions”), subchapter B (“Probation”),

subchapter C (“Fines”), and subchapter D (“Imprisonment).             Two provisions—one from

subchapter A and one from subchapter B—are relevant to the question of whether a sentencing

court may impose a term of continuous incarceration that exceeds two weeks 10 followed by a term

of probation.

       First, in subchapter A, 18 U.S.C. § 3551 sets out “[a]uthorized sentences.” Section 3551(a)

makes clear that a “defendant who has been found guilty of” any federal offense “shall be

sentenced in accordance with the provisions of” Chapter 227 “[e]xcept as otherwise specifically

provided.” 18 U.S.C. § 3551(a). Section 3551(b) provides that a federal defendant shall be

sentenced to “(1) a term of probation as authorized by subchapter B; (2) a fine as authorized by

subchapter C; or (3) a term of imprisonment as authorized by subchapter D.” 18 U.S.C. §

3551(b). 11 As a general matter, therefore, “a judge must sentence a federal offender to either a

fine, a term of probation, or a term of imprisonment.” United States v. Kopp, 922 F.3d 337, 340

(7th Cir. 2019).

       Second, 18 U.S.C. § 3561, the first provision in subchapter B, addresses a “[s]entence of

probation.” As initially enacted, Section 3561 provided that a federal defendant may be sentenced

to a term of probation “unless . . . (1) the offense is a Class A or Class B felony and the defendant

is an individual; (2) the offense is an offense for which probation has been expressly precluded; or

(3) the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense.” Pub. L. No. 98-473, at § 212; see United States v. Anderson, 787 F. Supp. 537, 539 (D.



10
        A period of incarceration that does not exceed two weeks followed by a term of probation
is also permissible under 18 U.S.C. § 3653(b)(10). See Part II infra.
11
       Section 3551(b) further provides that a sentencing judge may impose a fine “in addition to
any other sentence.” 18 U.S.C. § 3551(b).

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Md. 1992) (noting that the Sentencing Reform Act did not permit “a period of ‘straight’

imprisonment . . . at the same time as a sentence of probation”).

       Congress, however, subsequently amended Section 3561(a)(3).             In 1991, Congress

considered adding the following sentence to the end of Section 3561(a)(3): “However, this

paragraph does not preclude the imposition of a sentence to a term of probation for a petty offense

if the defendant has been sentenced to a term of imprisonment at the same time for another such

offense.” H.R. Rep. 102-405, at 167 (1991). Instead, three years later Congress revised Section

3561(a)(3) by appending the phrase “that is not a petty offense” to the end of the then-existing

language. See H.R. Rep. No. 103-711, at 887 (1994) (Conference Report). In its current form,

therefore, Section 3561(a)(3) provides that a defendant “may be sentenced to a term of probation

unless . . . the defendant is sentenced at the same time to a term of imprisonment for the same or a

different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3).

                                             Analysis

       Before Congress passed the Sentencing Reform Act of 1984, sentencing courts could

impose a split sentence on a federal defendant in certain cases. See United States v. Cohen, 617

F.2d 56, 59 (4th Cir. 1980) (noting that a sentencing statute enacted in 1958 had as its “primary

purpose . . . to enable a judge to impose a short sentence, not exceeding sixth months, followed by

probation on a one count indictment”); see also United States v. Entrekin, 675 F.2d 759, 760-61

(5th Cir. 1982) (affirming a split sentence of six months’ incarceration followed by three years of

probation). In passing the Sentencing Reform Act, Congress sought generally to abolish the

practice of splitting a sentence between imprisonment and probation because “the same result”

could be accomplished through a “more direct and logically consistent route,” namely the use of

supervised release as set out in 18 U.S.C. §§ 3581 and 3583. S. Rep. No. 225, 1983 WL 25404,



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at *89; accord United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) § 5B1.1,

Background. But Congress’s 1994 amendment to Section 3561(a)(3) reinstated a sentencing

court’s authority to impose a split sentence for a petty offense.

       Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, for any federal offense other

than a petty offense, Section 3561(a)(3) prohibits “imposition of both probation and straight

imprisonment,” consistent with the general rule in Section 3551(b). United States v. Forbes, 172

F.3d 675, 676 (9th Cir. 1999); see United States v. Martin, 363 F.3d 25, 31 (1st Cir. 2004); United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); Anderson, 787 F. Supp. at 539.

       But the statutory text of 18 U.S.C. § 3561(a)(3) goes further by permitting a court to

sentence a defendant to a term of probation “unless” that defendant “is sentenced at the same

time to a term of imprisonment for the same or a different offense that is not a petty offense.” 18

U.S.C. § 3561(a)(3). Section 3561 “begins with a grant of authority”—permitting a court to

impose probation—followed by a limitation in the words following “unless.” Little, 2022 WL

768685, at *4. But that limitation “does not extend” to a defendant sentenced to a petty offense.

See id. (“[W]hile a defendant’s sentence of a term of imprisonment may affect a court's ability to

impose probation, the petty-offense clause limits this exception.”).

       It follows that when a defendant is sentenced for a petty offense, that defendant may be

sentenced to a period of continuous incarceration and a term of probation. See United States v.

Posley, 351 F. App’x 807, 809 (4th Cir. 2009) (per curiam). In Posley, the defendant, convicted

of a petty offense, was sentenced to two years of probation with the first six months in prison. Id.

at 808.   In affirming that sentence, the Fourth Circuit concluded that Section 3561(a)(3)



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“[u]nquestionably” provided statutory authority to sentence the petty-offense defendant to “a term

of six months of continuous imprisonment plus probation.” Id. at 809; see Cyclopedia of Federal

Procedure, § 50:203, Capacity of court to impose probationary sentence on defendant in

conjunction with other sentence that imposes term of imprisonment (3d ed. 2021) (“[W]here the

defendant is being sentenced for a petty offense, a trial court may properly sentence such individual

to a term of continuous imprisonment for a period of time, as well as a sentence of probation.”)

(citing Posley); see also Wright and Miller, Federal Practice and Procedure, § 547, at n.13 (4th

ed. 2021) (“A defendant may be sentenced to probation unless he . . . is sentenced at the same time

to imprisonment for an offense that is not petty.”) (emphasis added).

        Nor does the phrase “that is not a petty offense” in Section 3561(a)(3) modify only

“different offense.” See Little, 2022 WL 768685, at *5-*6 (concluding that “same” in Section

3561(a)(3) functions as an adjective that modifies “offense”). Section 3561(a)(3) does not state

“the same offense or a different offense that is not a petty offense,” which would imply that the

final modifier—i.e., “that is not a petty offense”—applies only to “different offense.” The phrase

“that is not a petty offense” is a postpositive modifier best read to apply to the entire, integrated

phrase “the same or a different offense.” See Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 148 (2012). Had Congress sought to apply the phrase “not a

petty offense” solely to “different offense,” the “typical way in which syntax would suggest no

carryover modification” would be some language that “cut[s] off the modifying phrase so its

backward reach is limited.” Id. at 148-49. And while the indefinite article “a” might play that

role in other contexts (e.g., “either a pastry or cake with icing” vs. “either a pastry or a cake with

icing”), the indefinite article in Section 3561(a)(3) merely reflects the fact that the definite article

before “same” could not naturally apply to the undefined “different offense.” See Little, 2022 WL



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768685, at *6 (identifying other statutes and “legal contexts” with the identical phrase that carry

the same interpretation).

       Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). When Congress in 1994 amended the language in Section 3561(a), it again provided

sentencing courts with “latitude,” see S. Rep. 98-225, 1983 WL 25404, at *89, to ensure some

degree of supervision—through probation—following incarceration.

       Section 3551(b)’s general rule that a sentencing court may impose either imprisonment or

probation (but not both) does not preclude a sentencing court from imposing a split sentence under

Section 3561(a)(3) for a petty offense for two related reasons.

       First, the more specific permission for split sentences in petty offense cases in Section

3561(a)(3) prevails over the general prohibition on split sentences in Section 3551(b). See Morton

v. Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific

statute will not be controlled or nullified by a general one.”). As noted above, when Congress

enacted the general prohibition on split sentences in Section 3551(b), it had not yet enacted the

more specific carveout for split sentences in petty offense cases in Section 3561(a)(3). That

carveout does not “void” the general prohibition on split sentences in Section 3551(b); rather,

Section 3551(b)’s general prohibition’s “application to cases covered by the specific provision [in

Section 3651(a)(3)] is suspended” as to petty offense cases. Scalia & Garner, supra, at 184. In

other words, Section 3551(b)’s prohibition against split sentences “govern[s] all other cases” apart




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from a case involving a petty offense. Id. This interpretation, moreover, “ensures that all of

Congress’s goals set forth in the text are implemented.” Little, 2022 WL 768685, at *8.

       Second, to the extent Section 3551(b)’s general prohibition against split sentences conflicts

with Section 3561(a)(3)’s permission for split sentences in petty offense cases, the latter, later-

enacted provision controls. See Posadas v. Nat’l Bank of N.Y., 296 U.S. 497, 503 (1936) (“Where

provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict

constitutes an implied repeal of the earlier one.”); Scalia & Garner, supra, at 327-329. Where a

conflict exists “between a general provision and a specific one, whichever was enacted later might

be thought to prevail.” Id. at 185. “The “specific provision”—here Section 3561(a)(3)—“does

not negate the general one entirely, but only in its application to the situation that the specific

provision covers.” Id. Section 3551(b)’s general prohibition does not operate against the more

specific, later-enacted carveout for split sentences in Section 3561(a)(3).

       An interpretation of Sections 3551(b) and 3561(a) that a sentencing court “must choose

between probation and imprisonment when imposing a sentence for a petty offense,” United States

v. Spencer, No. 21-cr-147 (CKK), Doc. 70, at 5 (Jan. 19, 2022), fails to accord the phrase “that is

not a petty offense” in Section 3561(a)(3) any meaning. When Congress in 1994 amended Section

3561(a)(3) to include that phrase, it specifically permitted a sentencing court in a petty offense

case to deviate from the otherwise applicable general prohibition on combining continuous

incarceration and probation in a single sentence.        Ignoring that amended language would

improperly fail to “give effect to every clause and word” of Section 3561(a)(3). Marx v. Gen.

Revenue Corp., 568 U.S. 371, 385 (2013).

       Congress’s unenacted language from 1991 does not suggest that a split sentence is available

only where a defendant is sentenced at the same time for two different petty offenses or for two



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offenses, at least one of which is a petty offense. For one thing, the Supreme Court has regularly

rejected arguments based on unenacted legislation given the difficulty of determining whether a

prior bill prompted objections because it went too far or not far enough. See Mead Corp. v. Tilley,

490 U.S. 714, 723 (1989) (“We do not attach decisive significance to the unexplained

disappearance of one word from an unenacted bill because ‘mute intermediate legislative

maneuvers’ are not reliable indicators of congressional intent.”) (citation omitted). Moreover,

under that view, every offense other than a petty offense could include some period of

incarceration and some period of supervision (whether that supervision is supervised release or

probation). Yet so long as a defendant was convicted of two petty offenses, that defendant could

be sentenced to incarceration and supervision (in the form of probation). No sensible penal

policy supports that interpretation.

        It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. Ferrigno pleaded guilty to

one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing in the Capitol

Building, which is a “petty offense” that carries a maximum penalty that does not exceed six

months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna, 82 F.3d

1370, 1381 n.2 (7th Cir. 1996) (Kanne, J., concurring) (citations omitted) (noting that a petty

offender may face a sentence of up to five years in probation).

   2.      A sentence of probation may include incarceration as a condition of probation,
           though logistical and practical reasons may militate against such a sentence
           during an ongoing pandemic.

                                       Relevant background

        In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement



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that a defendant

           remain in the custody of the Bureau of Prisons during nights, weekends or other
           intervals of time, totaling no more than the lesser of one year or the term of
           imprisonment authorized for the offense, during the first year of the term of
           probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 12

                                              Analysis

       A sentencing court may impose one or more intervals of imprisonment up to a year (or the

statutory maximum) as a condition of probation, so long as the imprisonment occurs during

“nights, weekends or other intervals of time.” 18 U.S.C. § 3653(b)(10). Although the statute does

not define an “interval of time,” limited case law suggests that it should amount to a “brief period”

of no more than a “week or two” at a time. United States v. Mize, No. 97-40059, 1998 WL 160862,

at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history described above

and reversing magistrate’s sentence that included 30-day period of confinement as a condition of

probation); accord United States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18,

2011) (concluding that two 45-day periods of continuous incarceration as a condition of probation

was inconsistent with Section 3563(b)(10)); see also Anderson, 787 F. Supp. at 538 (continuous

60-day incarceration not appropriate as a condition of probation); Forbes, 172 F.3d at 676 (“[S]ix


12
       Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation
was “not intended to carry forward the split sentence provided in Section 3561, by which the judge
imposes a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL
25404, at *98.

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months is not the intermittent incarceration that this statute permits.”). Accordingly, a sentence of

up to two weeks’ imprisonment served in one continuous term followed by a period of probation

is permissible under Section 3563(b)(10). 13

       A sentencing court may also impose “intermittent” confinement as a condition of probation

to be served in multiple intervals during a defendant’s first year on probation. 18 U.S.C.

§ 3563(b)(10); see Anderson, 787 F. Supp. at 539. Notwithstanding a sentencing court’s legal

authority to impose intermittent confinement in this manner, the government has refrained from

requesting such a sentence in Capitol breach cases given the potential practical and logistical

concerns involved when an individual repeatedly enters and leaves a detention facility during an

ongoing global pandemic. Those concerns would diminish if conditions improve or if a given

facility is able to accommodate multiple entries and exits without unnecessary risk of exposure.




13
       Section 3563(b)(10)’s use of the plural to refer to “nights, weekends, or intervals of time”
does not imply that a defendant must serve multiple stints in prison. Just as “words importing the
singular include and apply to several persons, parties, or things,” “words importing the plural
include the singular.” 1 U.S.C. § 1; see Scalia & Garner, supra, at 129-31.
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 V.        Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Antonio Ferrigno to 30 days’

incarceration, 36 months’ probation, 60 hours of community service, and $500 in restitution. Such

a sentence protects the community, promotes respect for the law, and deters future crime by

imposing restrictions on his liberty as a consequence of his behavior, while recognizing his

acceptance of responsibility for his crime.

                                              Respectfully submitted,
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